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20 CV 5396.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

United States of America and State of New York, ex rel.
Patrick Donohue,
CASE NO.: 20—CV-
Plaintiffs,

C AINT
-against-

RICHARD CARRANZA, in his official capacity as
the Chancellor of New York City Department of
Education, the NEW YORK CITY DEPARTMENT
OF EDUCATION, THE CITY OF NEW YORK,
the NEW YORK STATE SCHOOL DISTRICTS
(See Appendix A); and COUNTIES OF NEW
YORK STATE (See Appendix B),

Defendants.

 

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Patrick Donohue (“Relator Donohue”) brings this qui tam action on behalf of the United States
of America (“United States”) and the State of New York against Richard Carranza, in his
official capacity as the Chancellor of New York City Department of Education (“Chancellor
Carranza), the New York City Department of Education (“NYC DOE”), the City of New York
(“NYC”), the New York State School Districts “(NYS Schools”, See Appendix A); and the
Counties of New York State (“NYS Counties”, See Appendix B) under the federal False Claims
Act, 31 U.S.C. § 3729-3733, (“FCA”) and the New York False Claims Act, New York Finance
Law §§ 187-194, and alleges upon his first-hand knowledge as follows:

INTRODUCTION

L, The case is about the efforts of Chancellor Carranza, NYC DOE, NYC, NYS Schools
and NYS Counties (collectively, “Defendants’”’) to extract from the United States and
the State of New York (the “Government’”) hundreds of millions of dollars in payments

by knowingly presented, or caused to be presented, false or fraudulent claims for
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payment or approval; knowingly made, used, or caused to be made or used, a false
record or statement material to a false or fraudulent claim; knowingly made, or used, a
false record or statement material to a false or fraudulent claim; knowingly made, used,
or caused to be made or used, a false record or statement material to an obligation to
pay or transmit money or property to the Government, or knowingly concealed or
knowingly and improperly avoided or decreased an obligation to pay or transmit money
or property to the Government; and conspired to commit the above acts, all in violation
of 31 U.S.C. § 3729(a)(1)(A),(B),(C) & (G).

The Individuals with Disabilities Education Act, 20 U.S.C. §1400 (“IDEA”)!, the
regulations of the United States Department of Education, which were promulgated
pursuant to authority granted by the statute (34 C.F.R. Part 300), and the corresponding
regulations of the Commissioner of Education in New York (Part 200 Students with
Disabilities and Part 201 Procedural Safeguards for Students with Disabilities)’,
pursuant to Sections 207, 3214, 4403, 4404 and 4410 of the Education Law in New
York State guarantees students with disabilities a free and appropriate public education
(“FAPE”). The term FAPE? refers to special education and related services that are
designed to meet a child’s unique needs and that will prepare the child for further
education, employment, and independent living.

The Defendants’ scheme involves frauds against the federal government and the State
of New York. First, the Defendants’ fraudulently created Individualized Education
Plans (“IEPs”) for special education students knowing they could not implement these
IEPs knowingly denying the students a FAPE. Second, the Defendants’ fraudulently
claimed they were providing special education and related services as outlined in the
students’ [EPs and billed and/or reimbursed by the federal government and New York
State for services that were not performed or were established fraudulently.

As a result of Defendants’ multi-faceted campaign of fraud against the Government,

 

' https://sites.ed.gov/idea/
? http://www.p12.nysed.gov/specialed/lawsregs/documents/regulations-part-200-201-oct-2016.pdf
3 IDEA Section 602 (9) The term ‘free appropriate public education’ means special education and related services

that--

(A) have been provided at public expense, under public supervision and direction, and without charge;

(B) meet the standards of the State educational agency;

(C) include an appropriate preschool, elementary school, or secondary school education in the State involved; and
(D) are provided in conformity with the individualized education program required under section 614(d).
10.

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Defendants have collected hundreds of millions of dollars, if not billions of dollars,
which they were never entitled.

But beyond this massive financial fraud on the government, the ultimate victims here
are hundreds of thousands of students with disabilities and their parents who were

relying on the Defendants to provide the services they were obligated to provide
through IDEA.

DICTION AND V E

This Court has subject matter jurisdiction of this matter pursuant to 28 U.S.C. § 3730(a)
(False Claims Act), 28 U.S.C. § 1331 (Federal question), 28 U.S.C. § 1367
(Supplemental jurisdiction), 31 U.S.C. § 3732 (False claims jurisdiction), and 28 U.S.C.
§ 1345 (United States as plaintiff).

To the extent, if any, that this case involves questions of special education rights under
New York State law, this Court has supplemental jurisdiction pursuant to 28 U.S.C.
§1367.

Pursuant to 31 U.S.C. §3732(a) and 28 U.S.C. §1391(b), venue is properly placed
within the Southern District of New York because at least one of the Defendants resides
or transacts business in the Southern District, specifically, Richard Carranza
(“Chancellor Carranza”), in his official capacity as Chancellor of the New York City
Department of Education, City of New York, and the New York City Department of
Education (“NYC DOE”), maintain business offices in New York County, and all
Defendants reside in New York. In addition, Realtor Donohue is a resident of New
York County.

Plaintiffs are entitled to costs and attorneys’ fees under 31 U.S.C. §3730(d), if
determined to be a prevailing party.

FACTUAL
ALLE

As the parent of a special education student, the NYC DOE Committee on Special
Hi.

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Education (“CSE”) fraudulently created an IEP for my daughter they knew they could
not implement during the Covid-19 situation. However, they proceeded to finalize and
fraudulently present it asa FAPE. There are dozens of other parents and students I have
firsthand knowledge of NYC DOE fraudulently doing the same thing.

There are over 50 students I have firsthand knowledge of who NYC DOE failed to
provide the services outlined in their IEP since March 2020 (including live synchronous
services), however, fraudulently projected (to the Government) these students were
continuing to be properly serviced remotely. In addition, the NYC DOE CSE
fraudulently created IEPs for the 2020-2021 school year for these students they knew
they could not implement during the Covid-19 situation.

There are more than a dozen additional students I have firsthand knowledge of who
their Local Educational Agencies (“LEAs”) in New York State failed to provide
services outlined in their IEP since March 2020 (including live synchronous services),
however, fraudulently projected (to the Government) these students were continuing to
be properly serviced remotely. In addition, these LEAs fraudulently created IEPs for
the 2020-2021 school year for these students they knew they could not implement
during the Covid-19 situation. These LEAs include the following: Oxford Academy
School District in Broome County, Glen Cove School District in Nassau County,
Massena Central School District in St. Lawrence County, New Rochelle City School
District in Westchester County, Babylon Union Free School District in Suffolk County,
Williamsville Central School District in Erie County, Goshen Central School District
in Orange County, Bay Shore Union Free School District in Suffolk County, Valley
Stream Union Free School District in Nassau County, Salem Central School District in
Westchester County, Seaford Union Free School District in Nassau County, Eastchester
Union Free School District in Westchester County, Smithtown Central School District
in Suffolk County, North Colonie Central School District in Albany County, and
Penfield Central School District in Monroe County. It is my belief and understanding

these fraudulent practices have occurred throughout New York State school districts.

IDEA PART B Funding
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13. The purpose of IDEA Part B (20 USCS § 1415) grants is to assist States, outlying areas,
freely associated States, and the Secretary of the Interior to provide special education
and related services to children with disabilities, including that children with disabilities
have access to a free appropriate public education (““FAPE”). In general, [DEA Part B
funds must he used only to pay the excess costs of providing FAPE to children with
disabilities, such as costs for special education teachers and administrators; related
services providers (speech therapists, psychologists, etc.); materials and supplies for
use with children with disabilities; professional development for special education
personnel; professional development for regular education teachers who teach children
with disabilities; and specialized equipment or devices to assist children with
disabilities. Generally, IDEA funds cannot be used for core instruction in the general
education classroom, instructional materials for use with non-disabled children, or for
professional development of general education teachers not related to meeting the needs
of students with disabilities. Two exceptions to these guidelines are when IDEA Part B
funds are used for coordinated early intervening services* (“CEIS”) or are consolidated
in a Title I schoolwide school (under The Elementary and Secondary Education Act
"ESEA", Pub.L.89-10).

14. LEAs may use up to 15 percent of their IDEA Part B funds for CEIS to assist students
in grades K through 12 (with an emphasis on K through 3) who are not currently
identified as needing special education and related services but who need additional
academic and behavioral support to succeed in a general education environment.’ CEIS
funds can be used to provide professional development® to educators who are
responsible for helping children who need additional academic and behavioral support
succeed in a general education environment or to provide direct interventions to
children who need academic and behavioral support. CEIS funds may be used in
coordination with ESEA funds but must supplement, and not supplant, ESEA funds

for those activities.’

 

4 Individuals with Disabilities Education Improvement Act of 2004, Pub. L. No. 108-446, § 618(d)(2)(B); Note: The
calculation for the maximum CEIS funds is based on the total of the regular IDEA, Part B allocations

> IDEA Section 613(f).

6 IDEA Section 613(f)(2)(A)

7 IDEA Section 613(f)(5).
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15. A Title I schoolwide school may use, to carry out the schoolwide project, an amount of
IDEA funds that is the same proportion of the total cost of the project as the number of
children with disabilities benefiting from the program is to the total school population
participating in the program. In a Title I schoolwide school that consolidates Federal
funds (e.g., ESEA, IDEA, etc.), a school may use those funds for any activity in its
schoolwide plan without accounting separately for the funds.’ The schoolwide school
needs to ensure that children with disabilities continue to receive FAPE, but would
not need to show that IDEA funds were spent only on allowable special education and

related services expenditures.”

MEDICAID Funding

16. A public school must offer all children a FAPE regardless whether or not it receives
federal funds under IDEA. Many IDEA-eligible children are covered by the Medicaid
program, a federal program managed through the Centers for Medicare & Medicaid
Services (“CMS”), whose Early and Periodic Screening, Diagnosis and Treatment
mandate requires Medicaid agencies to provide eligible children under 21 years old
with the services necessary to meet their medical needs. In many cases, a Medicaid-
eligible child’s JEP under IDEA includes health-related services such as audiology,
nursing and therapies that are medical in nature and covered by Medicaid.!°

17. In 1988, federal law was amended, through the passage of the Medicare Catastrophic
Coverage Act of 1988, to allow Medicaid payment for services provided to children
under IDEA. Recognizing that schools provide medically necessary services and IDEA
funding typically covers less than 20 percent of the average per student costs for special
education, the US Congress amended federal law in 1988 expressly to forbid Medicaid

from restricting or prohibiting payment for covered services authorized in a child’s

 

8 ESEA Section 1114.

° IDEA Section 613(a)(2)(D)

'0 Tn the late 1980s courts agreed that inclusion in an IEP did not automatically establish a service as educational
rather than medical in nature. See Commonwealth of Massachusetts v Heckler, 616F. Supp. 687 (D. Mass. 1985),
Commonwealth of Massachusetts v Bowen, 816F.2d 796 (1st Cir. 1987), and Bowen v Massachusetts, 487 U.S.
879, 108 S.CT 2722 (1988).
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IEP.'! This amendment was enacted to require Medicaid to be primary to the
Department of Education for payment of the health-related services provided under
IDEA and the schoo] districts must follow strict reporting requirements to secure this
federal funding.!? Even prior to the amendment in 1988, the school districts had strict
reporting requirements. '*

18. There are six conditions that must be met for Medicaid to reimburse for IDEA-related
services: 1) The child receiving the service must be enrolled in Medicaid; 2) The
services are medically necessary; 3) The services must be covered in the state Medicaid
plan or authorized by the federal Medicaid statute; 4) The services must be listed in the
child's individualized education program (“IEP”); 5) The school district or local
educational agency (“LEA”) must be authorized by the state as a qualified Medicaid
provider; and 6) The LEA or school district must follow state guidance as to how claims
are to be submitted for reimbursement. School districts and providers are instructed to
maintain proper documentation and follow the reporting requirements to avoid fraud.’

19. Various improper billing by states and school districts have occurred through Medicaid
throughout the decades since the law was changed in 1988 and CMS has increased its
oversight and regulations for school districts to continue to receive these federal
dollars'> and specifically in New York State.'© A whistleblower filed a federal lawsuit
in 1998 and the federal audit found the program to be out of compliance with federal
guidelines and that New York State school districts did not maintain adequate
documentation to support Medicaid billing. The lawsuit was settled for $540 million
in or about 2009, and a new state plan amendment was approved in April 2010. The
biggest difference between the old claiming methodology and the new methodology is

the old methodology was based on a minimum number of services per month while the

 

11 Section 411(k)(13) of the Medicare Catastrophic Coverage Act of 1988 - P.L. 100-360.

12 CMS Medicaid School-based Administrative Claiming Guide (May 2003): https://www.cms.gov/Research-
Statistics-Data-and-Systems/Computer-Data-and-
Systems/MedicaidBudgetExpendSystem/Downloads/Schoolhealthsves.pdf

13 CMS Medicaid and School Health: A Technical Assistance Guide (August 1997): http://paradigm-
healthcare.com/news/medicaid-and-school-health-a-technical-assistance-guide/

14 How to Obtain Medicaid Funding for School-Based Services: A Guide for Schools in System of Care
Communities: http://www.rippleeffects.com/pdfs/MedicaidFunding.pdf

15 https://www.cms. zov/newsroom/fact-sheets/hhs-issues-final-rules-protect-medicaid-improper-payments-school-
based-claiming

16 https://oig. hhs.gov/oas/reports/region2/20301008.pdf
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new methodology requires the school districts to PROVE a session occurred in order
to bill.’ The School Supportive Health Services Program (“SSHSP”) and the Preschool
Supportive Health Services Program (“PSHSP”) were developed jointly by the New
York State Education Department (“NYS SED”) and the New York State Department
of Health (“NYS DOH”). SSHSP applies to the 5-21 year old population and PSHSP
applies to the preschool 3-4 year population pursuant to §4410 of the Education Law.
SSHSP and PSHSP were established to assist school districts and counties in obtaining
Medicaid Reimbursement for certain diagnostic and health support services provided
to students with disabilities.’ SSHSP and PSHSP created a handbook in 2014, to
provide specific guidelines for LEAs to follow in order to receive Medicaid funding.!°
NYC DOE has an entire department within its bureaucracy to maximize its Medicaid
funding.”°

20. SSHSP provided specific guidance to all service providers about proper and improper
Medicaid billing during the Covid-19 situation in a June 5, 2020, memorandum. In the
memorandum SSHSP specifically stated, "There must be live interaction between the
therapist and the student or Medicaid cannot be billed. There is no Medicaid
reimbursement for videos, material packets, activities that are not completed during a
live interaction between the therapist and the student."; "No, text messaging and email
contact with students or parents will not be reimbursable by SSHSP Medicaid."; "No,
sending activities for a student to complete will not be reimbursable by SSHSP
Medicaid."; "No, providing consultation to parents is not a reimbursable SSHSP
service."; and "No, asynchronous "store and forward" services are not reimbursable by
Medicaid under the SSHSP."”!

21. The United Federation of Teachers (“UFT”) is the sole bargaining agent for most of the
non-supervisory educators who work in the New York City public schools. UFT
represents approximately 75,000 teachers, 19,000 classroom paraprofessionals, along

with related service providers, such as occupational therapists, physical therapists and

 

VW https://www.uft.org/files/attachments/medicaid-speech.pdf

18 http://www.oms.nysed.gov/medicaid/

ly http://www.oms.nysed.gov/medicaid/handbook/sshsp_handbook 8 nov 25 14.pdf

*° https://infohub.nyced.org/working-with-the-doe/special-education-providers/medicaid#jump-to-heading-2 1

*! http://www.oms.nysed.gov/medicaid/medicaid alerts/alerts 2020/20 02 Addendum html
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speech therapists.”

Despite the clear guidance from the New York State Education
Department and the New York State Health Department about providing live,
synchronous instruction, UFT advised its members, "...synchronous instruction is not
required at this time."*? (emphasis added)

22. CMS tracks state expenditures through the automated Medicaid Budget and
Expenditure System/State Children's Health Insurance Budget and Expenditure System
(“MBES/CBES”). The MBES/CBES is a web-based application system that has been
implemented nationwide. The system allows states to report budgeted and actual
expenditures for Medicaid and the Children’s Health Insurance Program (“CHIP”), by
electronically submitting their Form CMS-64 directly to the CMS Data Center and the
Medicaid database. The amounts reported and any attachments must be actual
expenditures for which all supporting documentation, in readily reviewable form, has
been compiled and is available immediately at the time the claim is filed. Form CMS-
64 is a statement of expenditures for which States are entitled to Federal reimbursement
under Title XIX and which reconciles the monetary advance made on the basis of Form
CMS-37 filed previously for the same quarter. Consequently, the amount claimed on
the Form CMS-64 is a summary of expenditures derived from source documents such
as invoices, cost reports and eligibility records. All summary statements or descriptions
of each claim must identify the claim and source documentation. Claims developed
through the use of sampling, projections, or other estimating techniques are considered
estimates and are not allowable under any circumstances. Where states are unable to
develop and document a claim for expenditures on a current basis, they must withhold
it until the actual amount, supported by final documentation, has been determined. The
state must report that amount on a future Form CMS-64 as a prior period adjustment.”4

23. Medicaid spending on school-based health accounts for about $4.5 billion” of the of

the entire Medicaid budget of approximately $400 billion.” The 2019 IDEA funding

 

22 https://www.uft.org/your-union/about-uft

3 https://www.uft.org/your-rights/safety-health/coronavirus/guidance-on-remote-learning

>4 https://www.medicaid.gov/medicaid/financial-management/state-expenditure-reporting-medicaid-chip/index.html
25 https://www.medicaid.gov/medicaid/financial-management/state-expenditure-reporting-for-medicaid-

chip/expenditure-reports-mbescbes/index.html
*6 Congress of the United States Congressional Budget Office. (2019.) The Budget and Economic Outlook 2019 —

2029. Retrieved from: https://www.cbo.govw/system/files?file=2019-01/54918-Outlook.pdf
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is approximately $13.5 billion.?”? In New York State the amount of Medicaid spending
in the schools was $273,563,018, and $136,781,511 of that came from federal funds.”®

S OFF LEGED

24, The FCA subjects those who receive federal funds fraudulently to civil liability.2? The
United States Justice Department rely on the provision to curb the abuse of federal

funds in programs ranging from Medicaid to disaster assistance.*°

FALSE CERTIFICATION FRAUD

25. The Defendants submitted a “false claim” when its representatives submitted fraudulent
representations that A) the IEPs they created were knowingly not in compliance with
IDEA and they could not implement these IEPs, thereby denying the students a FAPE,
and B) when their service providers knowingly misrepresented they were providing
related services in accordance with IDEA and Medicaid regulations. These claims
were legally false, since the provider knew it was in violation of federal regulations at

the time of submission.*! The federal and state governments only disbursed the money

 

21 United State Department of Education. (2018.) Department of Education Fiscal Year 2019 Congressional Action.
Retrieved from: https://www2.ed.gov/about/overview/budget/budget1 9/19action.pdf

28 https://www.cbpp.org/research/health/medicaid-helps-schools-help-children

29 See 31 U.S.C. § 3729(a) (2012). Originally enacted during the Civil War, the Act served as the first widespread
check on military contractors who defrauded the Union army. See Christopher L. Martin, Jr., Comment, Reining in
Lincoln’s Law: A Call to Limit the Implied Certification Theory of Liability Under the False Claims Act, 101 Calif.
L. Rev. 227, 236 (2013). As the federal bureaucracy grew in the twentieth century, the scope and impact of the FCA
grew as well. See id, at 229.

30 See Press Release, U.S. Dep’t of Justice, Justice Department Recovers Over $4.7 Billion from False Claims Act
Cases in Fiscal Year 2016 (Dec. 14, 2016), https://www.justice.gov/opa/pr/ justice-department-recovers-over-47-
billion-false-claims-act-cases-fiscal-year-2016 [https://perma.cc/PEJ3-NW4B] (“The False Claims Act is the
government’s primary civil remedy to redress false claims for government funds and property under government
programs and contracts relating to such varied areas as health care, defense and national security, food safety and
inspection, federally insured loans and mortgages, highway funds, small business contracts, agricultural subsidies,
disaster assistance, and import tariffs.”).

31 Keith D. Barber et al., Prolific Plaintiffs or Rabid Relators: Recent Developments in False Claims Act Litigation,
| Ind. Health L. Rev. 131, 137 (2004). Occasionally, courts will apply a limited version of this theory, “finding it
applicable only ‘when certification is a prerequisite to obtaining a government benefit.’ ” Id. (quoting United States
ex rel. Hopper v. Anton, 91 F.3d 1261, 1266 (9th Cir. 1996)). For example, in United States ex rel. Hopper v. Anton,
the Ninth Circuit concluded that under the FCA “the false certification of compliance . . . creates liability when
certification is a prerequisite to obtaining a government benefit.” 91 F.3d 1261, 1266 (9th Cir. 1996); see also
United States ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d 899, 902 (Sth Cir. 1997) (“[W]here
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because the Defendants certified that they would comply with the relevant federal
regulations. In other words, the Defendants lied when it took federal funds while
simultaneously—and knowingly—breaking federal regulations. Specifically in
Hopper, the Court stated, "It requires a false claim. Thus, some request for payment
containing falsities made with scienter (i.e., with knowledge of the falsity and with

intent to deceive) must exist."

IMPLIED CERTIFICATION FRAUD

26. In some instances, the Defendants’ representative may not have actually signed a form
certifying compliance yet would still violate the FCA. *? By the provider submitting
the claim, it is implied the provider affirmed it was in compliance with the regulations,
since violating those regulations would have made it ineligible to receive the funding.
Put another way, the fact the provider submitted any claim at all when it knew or
should have known it was ineligible to receive funds because of a violation is what

makes the claim legally “false.”

27. The Sixth Circuit found a holding company for home health-care agencies liable under
the FCA for implicitly certifying compliance. The holding company submitted a claim
for reimbursements for payments made to its employee-benefits plan, even though
those benefits were paid back to the provider the next day. The court concluded that the

provider’s signed statement accompanying its cost reports, which said that the reports

 

the government has conditioned payment of a claim upon a claimant’s certification of compliance with, for example,
a statute or regulation, a claimant submits a false or fraudulent claim when he or she falsely certifies compliance
with that statute or regulation.”)

32 See Barber et al., supra note 57, at 137; see, e.g., Universal Health Servs., Inc. v. United States, 136 S. Ct. 1989,
1995 (2016) (“We first hold that, at least in certain circumstances, the implied false certification theory can be a
basis for liability.”); United States ex rel. Augustine v. Century Health Servs., Inc., 289 F.3d 409, 416 (6th Cir.
2002) (stating that FCA claims brought under an implied certification theory can proceed as long as “the contractor
knew, or recklessly disregarded a risk, that its implied certification of compliance was false” (quoting Shaw v. AAA
Eng’g & Drafting, Inc., 213 F.3d 519, 533 (10th Cir. 2000))); Mikes v. Straus, 274 F.3d 687, 700 (2d Cir. 2001)
(“[W]e think a medical provider should be found to have implicitly certified compliance with a particular rule as a
condition of reimbursement in limited circumstances.”); Shaw v. AAA Eng’g & Drafting, Inc., 213 F.3d 519, 531
(10th Cir. 2000) (“[T]he language and structure of the FCA itself supports the conclusion that, under 31 U.S.C. §
3729(a)(1), a false implied certification may constitute a ‘false or fraudulent claim.’ ”); AbTech Constr., Inc. v.
United States, 31 Fed. Cl. 429, 434 (1994) (finding the defendant liable under an implied certification theory).
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were “true, correct, and complete” to the best of the signer’s knowledge, was enough
for the provider to be liable under the FCA. The court concluded that the company was
liable even though the provider did not explicitly state that, when it signed the
statement, it would not transfer the specific funds.*? The Supreme Court recently
endorsed the Implied Certification Fraud theory in Universal Health Services, Inc. v.

United States.*4

28. In this context, the relevant regulations include keeping accurate attendance and
providing special education services to all students.*> Thus, the Defendants who did not
keep close track of log-ins and attendance data would be liable since school officials
implicitly certified that they would keep their data current when they made the claim
for public funds.

WORTHLESS SERVICES FRAUD

29. Under the Worthless Services Fraud understanding of false claiming, the Defendants
are liable since the limited services they may have provided was so subpar as to be
completely worthless.*° By claiming reimbursement for providing valueless care, the
provider effectively has forced the government to pay for nothing—making it so the
provider submits a legally false claim when it asks the government to reimburse it for

services that have no value.*’ These deceptive practices are a prima facie case of

 

33 Augustine, 289 F.3d at 416

34136 S. Ct. 1989 (2016).

35 See, e.g. Clare McCann, IDEA Funding, EdCentral:
Edcyclopedia,http://www.edcentral.org/edcyclopedia/individuals-with-disabilities-education-act-funding-
distribution/ [https://perma.cc/YJ2U-AL4U] (discussing the requirement to provide services to students with special
needs); see also Office of Elementary & Secondary Educ., U.S. Dep’t of Educ., Non-Regulatory Guidance: Local
Educational Agency Identification and Selection of School Attendance Areas and School and Allocation of Title |
Funds to Those Areas and Schools (2003), _ https://www2.ed.govw/programs/titleiparta/wdag.doc
[https://perma.cc/N4K V-N3 W6] (discussing the requirements for schools to receive Title I funds).

*6 Isaac D. Buck, Caring Too Much: Misapplying the False Claims Act to Target Overtreatment, 74 Ohio St. L.J. 463,
487-88 (2013); see, e.g., United States ex rel. Lee v. SmithKline Beecham, Inc., 245 F.3d 1048, 1053 (9th Cir, 2001)
(“In an appropriate case, knowingly billing for worthless services or recklessly doing so with deliberate ignorance
may be actionable under § 3729, regardless of any false certification conduct.”); Mikes v. Straus, 274 F.3d 687, 703
(2d Cir. 2001) (“We agree that a worthless services claim is a distinct claim under the Act. It is effectively derivative
of an allegation that a claim is factually false because it seeks reimbursement for a service not provided.”).

37 Buck, supra note 73, at 487-88. This theory emerged after the U.S. Attorney’s Office for the Eastern District of
Pennsylvania successfully prosecuted a long-term care facility after one of its patients was sent to the emergency room

 
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fraudulent behavior. If a provider’s services are so bad that they in effect have no
value, the provider might as well be selling snake oil. The Defendants knew the

services they were claiming to provide were sub-par, if not worthless.*8

30. In United States ex rel. Lee v. SmithKline Beecham, Inc., the Ninth Circuit upheld the
concept of a Worthless Services Fraud theory by stating it was possible for plaintiffs to
state a claim for worthless services fraud.*° There, a laboratory billed Medicare for tests
it had completed using control samples that it knew fell outside of the acceptable
standard of error.*° Likewise, defendants in a Virginia FCA case settled after the
plaintiffs alleged worthless services fraud where the defendant nursin g home had

claimed Medicare benefits while neglecting patients.*!

IR LAI
Violations of the False Claims Act
(31 U.S.C. § 3729(a)(1)(A))

Presenting False Claims for Payment

31. The United States and Relator Donohue incorporate by reference the above paragraphs

as if fully set forth herein.

 

and found to be suffering from “26 ulcers, a gangrenous leg and a series of other serious complications.” Id. (quoting
Devin S. Schindler, Pay for Performance, Quality of Care and the Revitalization of the False Claims Act, 19 Health
Matrix 387, 396-97 (2009).

*8 Cf Ctr. for Research on Educ. Outcomes, Stanford Univ., Online Charter School Study 23 (2015),
https://credo.stanford.edu/pdfs/Online%20Charter%20Study%20Final.pdf [https://perma.cc/74M4-NSSA] (finding
that students in online charter schools lagged behind their peers in traditional schools in terms of academic
achievement). In one Stanford University study, researchers found that students in online charter schools made
academic gains in math that translated to the gains that the researchers would have expected to see if they had spent
180 fewer days—or an entire academic year—learning than their peers in a brick-and-mortar classroom. Id. Likewise,
online charter school students’ reading gains put them 72 school days behind their peers in traditional schools. Id.

3° 245 F.3d at 1053.

4° Id. at 1050

*! Compare David R. Hoffman, The Role of the Federal Government in Ensuring Quality of Care in Long-Term Care
Facilities, 6 Annals Health L. 147, 148 (1997), with Michael J. Davidson, Governmental Responses to Elder Abuse
and Neglect in Nursing Homes: The Criminal Justice System and the Civil False Claims Act, 12 Elder L.J. 327, 344
(2004), for a discussion of United States v. GMS Management-Tucker, Inc., a case that settled after federal prosecutors
brought a suit against a Virginia nursing home that claimed Medicaid benefits while failing to provide adequate care,
including allowing one patient to develop twenty-six bedsores, one of which was as large as a grapefruit.
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The United States seeks relief against Defendants under Section 3729(a)(1)(A) of the
False Claims Act, 31 U.S.C. § 3729(a)(1)(A).

As set forth above, Defendants knowingly presented, or caused to be presented, false
and fraudulent claims for payment or approval in connect with the submission of claim

for school-based services for students with disabilities.

Medicaid and Department of Education paid school districts, counties or municipalities

New York State and Federal funds because of Defendants’ fraudulent conduct.

By reason of Defendants’ false claims, New York State and the United States have

been damaged in a substantial amount to be determined at trial.

SECOND CLAIM
Violations of the False Claims Act
(31 U.S.C. § 3729(a)(1)(B))

Use of False Statements

The United States and Relator Donohue incorporate by reference the above paragraphs

as if fully set forth herein.

The United States seeks relief against Defendants under Section 3729(a)(1)(B) of the
False Claims Act, 31 U.S.C. § 3729(a)(1)(B).

As set forth above, Defendants knowingly made, used, or caused to be made and used,
false records and statements material to a false or fraudulent claim paid or approved in
connect with the submission of claim for school-based services for students with

disabilities.

Medicaid and Department of Education paid school districts, counties or municipalities

New York State and Federal funds because of Defendants’ fraudulent conduct.
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By reason of Defendants’ false claims, New York State and the United States have

been damaged in a substantial amount to be determined at trial.

THIRD CLAIM
Violations of the False Claims Act

(31 U.S.C. § 3729(a)(1)(G))

Use of False Statements

The United States and Relator Donohue incorporate by reference the above paragraphs

as if fully set forth herein.

The United States seeks relief against Defendants under Section 3729(a)(1)(G) of the
False Claims Act, 31 U.S.C. § 3729(a)(1)(G).

As set forth above, Defendants knowingly made, used, or caused to be made and used,
false records and statements material to an obligation to pay or transmit money or
property to the Government or knowingly concealed or knowingly and improperly
avoided or decreased an obligation to pay or transmit money or property to the

Government.

Medicaid and Department of Education paid school districts, counties or municipalities

New York State and Federal funds because of Defendants’ fraudulent conduct.

By reason of Defendants’ false claims, New York State and the United States have

been damaged in a substantial amount to be determined at trial.

FOURTH CLAIM
Violations of the False Claims Act

(31 U.S.C. § 3729(a)(1)(C))

Conspiracy to Commit a Violation of the False Claims Act
Case 1:20-cv-05396-GHW-SDA Document? Filed 04/05/21 Page 16 of 27

46. The United States and Relator Donohue incorporate by reference the above paragraphs
as if fully set forth herein.

47. The United States seeks relief against Defendants under Section 3729(a)(1)(C) of the
False Claims Act, 31 U.S.C. § 3729(a)(1)(C).

48, As set forth above, Defendants conspired to commit a violation of subparagraph (A),

(B) and (G) of the False Claims Act.

49. Defendants have committed at least one overt act in furtherance of their conspiracy.

50. By reason of Defendants’ conspiracy, New York State and the United States have been

damaged in a substantial amount to be determined at trial.

WHEREFORE, Plaintiff the United States ex rel. Patrick Donohue respectfully request that

judgment be entered in their favor and against Defendants as follows:

a. On the First, Second, Third and Fourth Claims for Relief (Violations of the False
Claims Act, 31 U.S.C. § 3729(a)(1)(A), (B), (C) and (G), for treble the United States’
damages, in an amount to be determined at trial, and an $11,000 penalty for each and
every false or fraudulent claim, record or statement made, used, presented or caused to

be made, used or presented by Defendants; and

b. Awarding Patrick Donohue his relator’s share pursuant to 31 U.S.C. § 3730(d)(1) or
(2); and

c. On the First, Second, Third and Fourth Claims for Relief, an award of costs and
attorney’s fees pursuant to 31 U.S.C. § 3730(d); and

d. Awarding such other and further relief as this Court deems just and proper.
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Dated: July 13, 2020

Respectfully submitted,

be

Papp B. Donohue, Esq.
55 W 116" Street — Suite 159

New York, NY 10026
(917) 359-4556

TO:

United States Attorney

for the Southern District of New York
86 Chambers Street — 3" Floor

New York, N.Y. 10007

Attorney General

Civil Division

United States Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001
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APPENDIX A

SCHOOL DISTRICTS OF NEW YORK STATE

Addison Central School District
Adirondack Central School District
Afton Central School District

Akron Central School District

Albany City School District (not BOCES)
Albany-Schoharie-Schenectady-Saratoga
BOCES

Albion Central School District

Alden Central School District

Alexander Central School District
Alexandria Central School District
Alfred-Almond Central School District
Allegany-Limestone Central School District
Altmar-Parish- Williamstown Central School
District

Amagansett Union Free School District
Amherst Central School District
Amityville Union Free School District
Amsterdam City School District

Andes Central School District

Andover Central School District

Ardsley Union Free School District
Argyle Central School District

Arkport Central School District
Arlington Central School District

Attica Central School District

Auburn City School District

AuSable Valley Central School District
Averill Park Central School District
Avoca Central School District

Avon Central School District

Babylon Union Free School District
Bainbridge-Guilford Central School District
Baldwin Union Free School District
Baldwinsville Central School District
Ballston Spa Central School District
Barker Central School District

Batavia City School District

Bath Central School District

Bay Shore Union Free School District
Bayport-Blue Point Union Free School
District

Beacon City School District

Beaver River Central School District
Bedford Central School District
Beekmantown Central School District
Belfast Central School District
Belleville-Henderson Central School
District

Bellmore Union Free School District
Bellmore-Merrick Central High School
District

Bemus Point Central School District
Berkshire Union Free School District
Berlin Central School District
Berne-Knox-Westerlo Central School
District

Bethlehem Central School District
Bethpage Union Free School District
Binghamton City School District

Blind Brook-Rye Union Free School District
Bolivar-Richburg Central School District
Bolton Central School District

Boquet Valley Central School District
Bradford Central School District

Brasher Falls Central School District
Brentwood Union Free School District
Brewster Central School District

Briarcliff Manor Union Free School District
Bridgehampton Union Free School District
Brighton Central School District
Broadalbin-Perth Central School District

- Brockport Central School District

Brocton Central School District
Bronxville Union Free School District
Brookfield Central School District
Brookhaven-Comsewogue Union Free
School District

Broome-Tioga BOCES

Brunswick Central School District
(Brittonkill)

Brushton-Moira Central School District
Buffalo City School District (not BOCES)
Burnt Hills-Ballston Lake Central School
District

Byram Hills Central School District
Case 1:20-cv-05396-GHW-SDA Document? Filed 04/05/21 Page 19 of 27

Byron-Bergen Central School District
Cairo-Durham Central School District
Caledonia-Mumford Central School District
Cambridge Central School District
Camden Central School District
Campbell-Savona Central School District
Canajoharie Central School District
Canandaigua City School District
Canaseraga Central School District
Canastota Central School District

Candor Central School District
Canisteo-Greenwood Central School District
Canton Central School District

Capital District/North Country

Carle Place Union Free School District
Carmel Central School District

Carthage Central School District
Cassadaga Valley Central School District
Cato-Meridian Central School District
Catskill Central School District
Cattaraugus-Allegany-Erie- Wyoming
BOCES

Cattaraugus-Little Valley Central School
District

Cayuga-Onondaga BOCES

Cazenovia Central School District

Center Moriches Union Free School District
Central Islip Union Free School District
Central Square Central School District
Central Valley Central School District at
Tlion-Mohawk

Chappaqua Central School District
Charlotte Valley Central School District
Chateaugay Central School District
Chatham Central School District
Chautauqua Lake Central School District
Chazy Union Free School District
Cheektowaga Central School District
Cheektowaga-Maryvale Union Free School
District

Cheektowaga-Sloan Union Free School
District

Chenango Forks Central School District
Chenango Valley Central School District
Cherry Valley-Springfield Central School
District

Chester Union Free School District
Chittenango Central School District
Churchville-Chili Central School District
Cincinnatus Central School District
Clarence Central School District
Clarkstown Central School District
Cleveland Hill Union Free Schoo! District
Clifton-Fine Central School District
Clinton Central School District
Clinton-Essex-Warren- Washington BOCES
Clyde-Savannah Central School District
Clymer Central School District
Cobleskill-Richmondville Central School
District

Cohoes City School District

Cold Spring Harbor Central School District
Colton-Pierrepont Central School District
Commack Union Free School District
Connetquot Central School District
Cooperstown Central School District
Copenhagen Central School District
Copiague Union Free School District
Corinth Central School District

Corning City School District

Cornwall Central School District
Cortland City School District
Coxsackie-Athens Central School District
Croton-Harmon Union Free School District
Crown Point Central School District
Cuba-Rushford Central Schoo] District
Dalton-Nunda Central School District
(Keshequa)

Dansville Central School District

Deer Park Union Free School District
Delaware Academy Central School District
at Delhi
Delaware-Chenango-Madison-Otsego
BOCES

Depew Union Free School District
Deposit Central School District

DeRuyter Central School District

Dobbs Ferry Union Free School District
Dolgeville Central School District

Dover Union Free School District
Downsville Central School District
Dryden Central School District
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Duanesburg Central School District
Dundee Central School District [2]
Dunkirk City School District

Dutchess BOCES

East Aurora Union Free School District
East Bloomfield Central School District
East Greenbush Central School District
East Hampton Union Free School District
East Irondequoit Central School District
East Islip Union Free School District
East Meadow Union Free School District
East Moriches Union Free School District
East Quogue Union Free School District
East Ramapo Central School District
East Rochester Union Free School District
East Rockaway Union Free School District
East Syracuse Minoa Central School District
East Williston Union Free School District
Eastchester Union Free School District
Eastern Suffolk (Suffolk-1) BOCES
Eastport-South Manor Central School
District

Eden Central School District

Edgemont Union Free School District
Edinburg Common School District
Edmeston Central School District
Edwards-Knox Central Schoo] District
Elba Central School District

Eldred Central School District

Ellenville Central School District
Ellicottville Central School District
Elmira City School District

Elmira Heights Central School District
Elmont Union Free School District
Elmsford Union Free School District
Elwood Union Free School District
Enlarged City School District of
Middletown

Erie 1 BOCES

Erie 2 Chautauqua-Cattaraugus BOCES
Evans-Brant Central School District (Lake
Shore)

Fabius-Pompey Central School District
Fairport Central School District

Falconer Central School District
Fallsburg Central School District

Farmingdale Union Free School District
Fayetteville-Manlius Central School District
Fillmore Central School District

Fire Island Union Free School District
Fishers Island Union Free School District
Floral Park-Bellerose Union Free School
District

Florida Union Free School District
Fonda-Fultonville Central School District
Forestville Central School District

Fort Ann Central School District

Fort Edward Union Free School District
Fort Plain Central School District
Frankfort-Schuyler Central School District
Franklin Central School District

Franklin Square Union Free School District
Franklin-Essex-Hamilton BOCES
Franklinville Central School District
Fredonia Central School District

Freeport Union Free School District
Frewsburg Central School District
Friendship Central School District
Frontier Central School District

Fulton City School District

Galway Central School District

Gananda Central School District

Garden City Union Free School District
Garrison Union Free School District
Gates-Chili Central School District
General Brown Central School District
Genesee Valley BOCES

Genesee Valley Central School District
Geneseo Central School District

Geneva City School District

George Junior Republic Union Free School
District

Georgetown-South Otselic Central School
District

Germantown Central School District
Gilbertsville-Mount Upton Central School
District

Gilboa-Conesville Central School District
Glen Cove City School District

Glens Falls City School District

Glens Falls Common School District
Gloversville City School District
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Gorham-Middlesex Central School District
Goshen Central School District
Gouverneur Central School District
Gowanda Central School District

Grand Island Central School District
Granville Central School District

Great Neck Union Free School District
Greece Central School District

Green Island Union Free School District
Greenburgh Central School District
Greenburgh Eleven Union Free School
District

Greenburgh-Graham Union Free School
District

Greenburgh-North Castle Union Free School
District

Greene Central School District

Greenport Union Free School District
Greenville Central School District
Greenwich Central School District
Greenwood Lake Union Free School District
Groton Central School District
Guilderland Central School District
Hadley-Luzerne Central School District
Haldane Central School District

Half Hollow Hills Central School District
Hamburg Central School District
Hamilton Central School District
Hamilton-Fulton-Montgomery BOCES
Hammond Central School District
Hammondsport Central School District
Hampton Bays Union Free School District
Hancock Central School District

Hannibal Central School District
Harborfields Central School District
Harpursville Central School District
Harrison Central School District
Harrisville Central School District
Hartford Central School District
Hastings-on-Hudson Union Free School
District

Hauppauge Union Free School District
Haverstraw-Stony Point Central School
District

Hawthorne-Cedar Knolls Union Free School
District

Hempstead Union Free School District
Hendrick Hudson Central School District
Herkimer Central School District
Herkimer-Fulton-Hamilton-Otsego BOCES
Hermon-DeKalb Central School District
Herricks Union Free School District
Heuvelton Central School District
Hewlett-Woodmere Union Free School
District

Hicksville Union Free School District
Highland Central School District
Highland Falls-Fort Montgomery Central
School District

Hilton Central School District

Hinsdale Central School District

Holland Central School District

Holland Patent Central School District
Holley Central School District

Homer Central School District

Honeoye Central School District

Honeoye Falls-Lima Central School District
Hoosic Valley Central School District
Hoosick Falls Central School District (not
BOCES)

Hopevale Union Free School District at
Hamburg

Hornell City School District

Horseheads Central School District
Hudson City School District

Hudson Falls Central School District
Hunter-Tannersville Central School District
Huntington Union Free School District
Hyde Park Central School District

Indian Lake Central School District
Indian River Central School District

Inlet Common School District

Iroquois Central School District

Irvington Union Free School District
Island Park Union Free Schoo] District
Island Trees Union Free School District
Islip Union Free School District

Ithaca City School District

Jamestown City School District
Jamesville-De Witt Central School District
Jasper-Troupsburg Central School District
Jefferson Central School District
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Jefferson-Lewis-Hamilton-Herkimer-Oneida
BOCES

Jericho Union Free Schoo] District
Johnsburg Central School District
Johnson City Central School District
Johnstown City School District
Jordan-Elbridge Central School District
Katonah-Lewisboro Union Free School
District

Keene Central School District

Kendall Central School District
Kenmore-Town of Tonawanda School
District

Kinderhook Central School District
Kings Park Central School District
Kingston City School District

Kiryas Joel Village Union Free School
District

La Fargeville Central School District
Lackawanna City School District
LaFayette Central School District

Lake George Central School District
Lake Placid Central School District
Lake Pleasant Central School District
Lakeland Central School District
Lancaster Central School District
Lansing Central School District
Lansingburgh Central School District
Laurens Central School District
Lawrence Union Free School District
Le Roy Central School District
Letchworth Central School District
Levittown Union Free School District
Lewiston-Porter Central School District
Liberty Central School District
Lindenhurst Union Free School District
Lisbon Central School District

Little Falls City School District

Little Flower Union Free School District
Liverpool Central School District
Livingston Manor Central Schoo] District
Livonia Central School District
Lockport City School District

Locust Valley Central School District
Long Beach City School District

Long Lake Central School District

Longwood Central School District
Lowville Academy & Central School
District

Lyme Central School District
Lynbrook Union Free School District
Lyncourt Union Free School District
Lyndonville Central School District
Lyons Central School District

Madison Central School District
Madison-Oneida BOCES
Madrid-Waddington Central School District
Mahopac Central School District
Maine-Endwell Central School District
Malone Central School District
Malverne Union Free School District
Mamaroneck Union Free School District
(not BOCES)

Manchester-Shortsville Central School
District (Red Jacket)

Manhasset Union Free School District
Marathon Central School District
Marcellus Central School District
Margaretville Central School District
Marion Central School District [3]
Marlboro Central School District
Massapequa Union Free School District
Massena Central School District
Mattituck-Cutchogue Union Free School
District

Mayfield Central School District
McGraw Central School District
Mechanicville City School District
Medina Central School District
Menands Union Free Schoo] District
Merrick Union Free School District
Mexico Central School District

Middle Country Central School District
Middleburgh Central School District
Milford Central School District
Millbrook Central School District
Miller Place Union Free School District
Mineola Union Free School District
Minerva Central School District
Minisink Valley Central School District
Monroe 1 BOCES

Monroe 2 — Orleans BOCES
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Monroe-Woodbury Central School District
Montauk Union Free School District
Monticello Central School District
Moravia Central School District

Moriah Central School District

Morris Central School District

Morristown Central School District
Morrisville-Eaton Central School District
Mount Markham Central School District
Mount Morris Central School District
Mount Pleasant Central School District
Mount Pleasant-Blythedale Union Free
School District

Mount Pleasant-Cottage Union Free School
District

Mount Sinai Union Free School District
Mount Vernon School District

Nanuet Union Free School District

Naples Central School District

New Hartford Central School District

New Hyde Park-Garden City Park Union
Free School District

New Lebanon Central School District

New Paltz Central Schoo] District

New Rochelle City School District

New Suffolk Common School District
New York City School District

New York Mills Union Free School District
Newark Central School District

Newark Valley Central School District
Newburgh City School District (not
BOCES)

Newcomb Central School District
Newfane Central School District

Newfield Central School District

Niagara Falls City School District
Niagara- Wheatfield Central School District
Niskayuna Central School District

North Babylon Union Free School District
North Bellmore Union Free School District
North Collins Central School District
North Colonie Central School District
North Greenbush Common School District
(Williams)

North Merrick Union Free School District
North Rose-Wolcott Central School District

North Salem Central School District
North Shore Central School District
North Syracuse Central School District
North Tonawanda City School District
North Warren Central School District
Northeast Central School District
Northeastern Clinton Central School District
Northern Adirondack Central School
District

Northport-East Northport Union Free School
District

Northville Central School District
Norwich City School District
Norwood-Norfolk Central School District
Nyack Union Free School District
Oakfield-Alabama Central School District
Oceanside Union Free School District
Odessa-Montour Central School District
Ogdensburg City School District

Olean City School District

Oneida City School District
Oneida-Herkimer-Madison BOCES
Oneonta City School District

Onondaga Central School District
Onondaga-Cortland-Madison BOCES
Ontario-Seneca- Yates-Cayuga- Wayne
BOCES

Onteora Central School District
Oppenheim-Ephratah-St. Johnsville Central
School District

Orange-Ulster BOCES

Orchard Park Central School District
Oriskany Central School District
Orleans-Niagara BOCES

Ossining Union Free School District
Oswego BOCES

Oswego City School District
Otego-Unadilla Central School District
Otsego-Delaware-Schoharie-Greene
BOCES

Owego-Apalachin Central School District
Oxford Academy and Central School
District

Oyster Bay-East Norwich Central School
District

Oysterponds Union Free School District
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Palmyra-Macedon Central School District
Panama Central School District
Parishville-Hopkinton Central School
District

Patchogue-Medford Union Free School
District

Pavilion Central School District

Pawling Central School District

Pearl River Union Free School District
Peekskill City School District

Pelham Union Free Schoo! District
Pembroke Central School District
Penfield Central School District

Penn Yan Central School District

Perry Central School District

Peru Central School District
Phelps-Clifton Springs Central School
District

Phoenix Central School District

Pine Bush Central School District

Pine Plains Central School District

Pine Valley Central School District (South
Dayton)

Piseco Common School District

Pittsford Central School District
Plainedge Union Free School District
Plainview-Old Bethpage Central School
District

Plattsburgh City School District
Pleasantville Union Free School District
Pocantico Hills Central School District
Poland Central School District

Port Byron Central School District

Port Chester-Rye Union Free School District
Port Jefferson Union Free School District
Port Jervis City School District

Port Washington Union Free School District
Portville Central School District

Potsdam Central School District
Poughkeepsie City School District
Prattsburgh Central School District
Pulaski Central School District

Putnam Central School District

Putnam Valley Central School District
Putnam- Westchester BOCES
Queensbury Union Free School District

Quogue Union Free School District
Randolph Academy Union Free School
District

Randolph Central School District
Raquette Lake Union Free School District
Ravena-Coeymans-Selkirk Central School
District

Red Creek Central School District

Red Hook Central School District
Remsen Central School District
Remsenburg-Speonk Union Free School
District

Rensselaer City School District
Rensselaer-Columbia-Greene BOCES
Rhinebeck Central School District
Richfield Springs Central School District
Ripley Central School District

Riverhead Central School District
Rochester City School District (not BOCES)
Rockland BOCES

Rockville Centre Union Free School District
Rocky Point Union Free School District
Rome City School District

Romulus Central School District

Rondout Valley Central School District
Roosevelt Union Free School District
Roscoe Central School District

Roslyn Union Free School District
Rotterdam-Mohonasen Central School
District

Roxbury Central School District
Royalton-Hartland Central School District
Rush-Henrietta Central School District
Rye City School District

Rye Neck Union Free School District
Sachem Central School District

Sackets Harbor Central School District
Sag Harbor Union Free School District
Sagaponack Common School District
Saint Regis Falls Central School District
Salamanca City School District

Salem Central School District

Salmon River Central School District
Sandy Creek Central School District
Saranac Central School District

Saranac Lake Central School District
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Saugerties Central School District
Sauquoit Valley Central School District
Sayville Union Free School District
Scarsdale Union Free School District
Schalmont Central School District
Schenectady City School District
Schenevus Central School District
Schodack Central School District
Schoharie Central School District
Schroon Lake Central School District
Schuyler-Steuben-Chemung-Tioga-Allegany
BOCES

Schuylerville Central School District
Scio Central School District
Scotia-Glenville Central School District
Seaford Union Free School District
Seneca Falls Central School District
Sewanhaka Central High School District
Sharon Springs Central School District
Shelter Island Union Free School District
Shenendehowa Central School District
Sherburne-Earlville Central School District
Sherman Central School District
Shoreham- Wading River Central School
District

Sidney Central School District

Silver Creek Central School District
Skaneateles Central School District
Smithtown Central School District

Sodus Central School District

Solvay Union Free School District
Somers Central School District

South Colonie Central School District
South Country Central School District
South Glens Falls Central School District
South Huntington Union Free School
District

South Jefferson Central School District
South Kortright Central School District
South Lewis Central School District
South Mountain-Hickory Common School
District

South Orangetown Central School District
South Seneca Central School District
South Seneca Central School District
Southampton Union Free School District

Southern Cayuga Central School District
Southold Union Free School District
Southwestern Central School District at
Jamestown

Spackenkill Union Free School District
Spencerport Central School District
Spencer-Van Etten Central School District
Springs Union Free School District
Springville-Griffith Institute Central School
District

St. Lawrence-Lewis BOCES

Stamford Central School District
Starpoint Central School District
Stillwater Central School District
Stockbridge Valley Central School District
Suffern Central School District

Sullivan BOCES

Sullivan West Central School District
Susquehanna Valley Central School District
Sweet Home Central School District
Syosset Central School District

Syracuse City School District (not BOCES)
Taconic Hills Central School District
Tech Valley High School (Consortium)
The Enlarged City School District of the
City of Saratoga Springs

Thousand Islands Central School District
Three Village Central School District
Ticonderoga Central School District
Tioga Central School District
Tompkins-Seneca-Tioga BOCES
Tonawanda City School District

Town of Webb Union Free School District
Tri-Valley Central School District

Troy City School District

Trumansburg Central School District
Tuckahoe Common School District
Tuckahoe Union Free School District
Tully Central School District

Tupper Lake Central School District
Tuxedo Union Free School District

Ulster BOCES

Unadilla Valley Central School District
Union Free Schoo! District of the
Tarrytowns

Union Springs Central School District
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Uniondale Union Free School District
Union-Endicott Central School District
Utica City School District

Valhalla Union Free School District
Valley Central School District

Valley Stream 13 Union Free School
District

Valley Stream 24 Union Free School
District

Valley Stream 30 Union Free School
District

Valley Stream Central High School District
Van Hornesville-Owen D. Young Central
School District

Vernon-Verona-Sherrill Central School
District

Vestal Central School District

Victor Central School District
Voorheesville Central School District
Wainscott Common School District
Wallkill Central School District

Walton Central School District
Wantagh Union Free School District
Wappingers Central School District
Warrensburg Central School District
Warsaw Central School District
Warwick Valley Central School District
Washington-Saratoga-Warren-Hamilton-
Essex BOCES

Washingtonville Central School District
Waterford-Halfmoon Union Free School
District

Waterloo Central School District
Watertown City School District
Waterville Central School District
Watervliet City School District

Watkins Glen Central School District
Waverly Central School District
Wayland-Cohocton Central School District
Wayne Central School District
Wayne-Finger Lakes RIC

Webster Central School District
Weedsport Central School District

Wells Central School District

Wellsville Central School District

West Babylon Union Free School District
West Canada Valley Central School District
West Genesee Central School District
West Hempstead Union Free School District
West Irondequoit Central School District
West Islip Union Free School District
West Park Union Free School District
West Seneca Central School District
West Valley Central School District
Westbury Union Free School District
Westchester (Southern Westchester)
BOCES

Western Suffolk (Suffolk-2) BOCES
Westfield Central School District
Westhampton Beach Union Free School
District

Westhill Central School District
Westmoreland Central School District
Wheatland-Chili Central School District
Wheelerville Union Free School District
White Plains City School District
Whitehall Central School District
Whitesboro Central School District
Whitesville Central School District
Whitney Point Central School District
William Floyd Union Free School District
Williamson Central School District
Williamsville Central School District
Willsboro Central School District

Wilson Central School District
Windham-Ashland-Jewett Central School
District

Windsor Central School District
Worcester Central School District
Wyandanch Union Free School District
Wynantskill Union Free School District
Wyoming Central School District
Yonkers City School District (not BOCES)
York Central School District
Yorkshire-Pioneer Central School District
Yorktown Central School District
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APPENDIX B
COUNTIES OF NEW YORK STATE

Albany New York / Manhattan (part of
Allegany New York City)
Bronx (part of New York City) Niagara
Broome Oneida
Cattaraugus Onondaga
Cayuga Ontario
Chautauqua Orange
Chemung Orleans
Chenango Oswego
Clinton Otsego
Columbia Putnam
Cortland Queens (part of New York City)
Delaware Rensselaer
Dutchess Richmond / Staten Island (part of
Erie New York City)
Essex Rockland
Franklin St. Lawrence
Fulton Saratoga
Genesee Schenectady
Greene Schoharie
Hamilton Schuyler
Herkimer Seneca
Jefferson Steuben
Kings / Brooklyn (part of New Suffolk
York City) Sullivan
Lewis Tioga
Livingston Tompkins
Madison Ulster
Monroe Warren
Montgomery Washington
Nassau Wayne
Westchester
Wyoming

Yates
